                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                                 )
                                                         )
v.                                                       )    NO. 3:06-00031-10
                                                         )    JUDGE CAMPBELL
TERRY BATES                                              )


                                            JUDGMENT

       Pending before the Court is a Petition (Docket No. 850) alleging violations of Defendant’s

conditions of Supervised Release. The Court held a hearing on January 29, 2014. For the reasons

stated on the record, as agreed by the parties, the Court orders:

       1.      Defendant’s conditions of Supervised Release are modified to include the following

additional condition:

       Defendant shall be placed on five (5) months Home Confinement. While on Home

Confinement, Defendant shall be in his place of residence at all times except for approved absences

for gainful employment, community service, religious services, medical care, educational or training

programs and such other times as may be specifically authorized by the Probation Office. Defendant

shall be subject to electronic monitoring at the Defendant’s expense, if the Defendant can afford to

pay for it, in the discretion of the Probation Office.

       2.      All other conditions of Supervised Release remain unchanged.

       3.      The Petition (Docket No. 850) is dismissed by agreement of the parties.

       It is so ORDERED.

                                                         ____________________________________
                                                         TODD J. CAMPBELL
                                                         UNITED STATES DISTRICT JUDGE




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